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                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


  In Re: AUTOMOTIVE PARTS ANTITRUST                                12-md-02311
  LITIGATION                                                Honorable Marianne O. Battani


  ALL PARTS


  THIS RELATES TO: ALL CASES



                                  NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that Randall B. Weill of the law firm of Preti Flaherty

  Beliveau & Pachios, LLP hereby enters his appearance as counsel for Direct Purchaser Plaintiff

  Irving Levine Automotive Distributors, Inc. in the above-captioned matter.




  Dated: July 12, 2016                        /s/ Randall B. Weill
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on July 12, 2016 I electronically filed the foregoing document with

  the Clerk for the Court using the ECF system which will send notification of such filing to ECF-

  registered counsel.

                                               /s/ Randall B. Weill
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